Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 1 of 15 PageID #: 19817

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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

      THE STATE OF TEXAS, ET AL.           §
                                           §
                                           §
      v.                                   §          CIVIL NO. 4:20-CV-957-SDJ
                                           §
                                           §
      GOOGLE LLC                           §

               REPORT AND RECOMMENDATION OF SPECIAL MASTER

           The Court referred Google LLC’s (“Google”) Motion for Protective Order (Dkt.

  #347) and Memorandum in Support of Google LLC’s Motion for a Protective Order

  (Dkt. #361)1 (the “Motion”) to the Special Master for consideration and entry of a

  report and recommended disposition. (Dkt. #367). On April 15, 2024, the Plaintiff

  States (the “States”) filed their response in opposition to the Motion. (Dkt. #374). On

  April 18, 2024, the Special Master held an in-person hearing regarding the Motion

  (the “April 18 Hearing”).

           The Motion seeks an order (i) preventing the States from pursuing

  interrogatory answers, requested documents, and Rule 30(b)(6) deposition testimony

  addressed to “discovery-on-discovery,” principally as to Google Chats, and (ii)

  protecting against the deposition of Google’s in-house counsel                  . (Dkt.

  #361).

           For the reasons stated herein, the Special Master recommends that the Court

  GRANT-IN-PART and DENY-IN-PART the Motion. The Special Master recommends



  1 Google’s Memorandum in Support was originally filed at Dkt. #348, but
  subsequently, a corrected version was filed at Dkt. #361.
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 2 of 15 PageID #: 19818

                                   FILED UNDER SEAL


  that the Court: (i) GRANT the Motion as to                 ’s deposition, (ii) GRANT the

  Motion as to the States’ written discovery seeking discovery-on-discovery without

  prejudice to the States later seeking such discovery if justified, (iii) DENY the Motion

  as to Rule 30(b)(6) testimony on Topics 1 and 18 with respect to Google Chats; and

  (iv) GRANT the Motion as to Rule 30(b)(6) testimony on Topics 2,3, 4, 5, 16, 17, and

  19. The Special Master further recommends that Google—through its counsel of

  record in this case—be ORDERED to conduct a re-review of those privileged

  documents identified on its privilege log that mention or refer to                   and

  confirm that such documents, upon counsel of record’s review, are not tainted by the

  alleged “fake privilege.”

        LEGAL STANDARD

          It is well-established that “control of discovery is committed to the sound

  discretion of the trial court.” Williamson v. U.S. Dep't of Agric., 815 F.2d 368, 382 (5th

  Cir. 1987). Under Federal Rule of Civil Procedure 26(b)(1), “[p]arties may obtain

  discovery regarding any non-privileged matter that is relevant to any party's claim

  or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). Both

  Rule 26(b)(1) and this District's Local Civil Rule 26(d) provide guidance in evaluating

  whether the requested discovery is both relevant and proportional. See Fed. R. Civ.

  P. 26(b)(1) (factors to consider include the “importance of the issues at stake in the

  action, the amount in controversy, the parties’ relative access to relevant information,

  the parties’ resources, the importance of the discovery in resolving the issues, and

  whether the burden or expense of the proposed discovery outweighs its likely

  benefit.”); E.D. Tex. Local Rule CV-26(d) (5 factors guiding relevant discovery). Rule


                                              2
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 3 of 15 PageID #: 19819

                                   FILED UNDER SEAL


  26(b) “has never been a license to engage in an unwieldy, burdensome, and

  speculative fishing expedition.” Crosby v. La. Health Serv. & Indem. Co., 647 F.3d

  258, 264 (5th Cir. 2011) (internal quotation marks and citation omitted).

        a.     Discovery-On-Discovery

        When considering whether “discovery-on-discovery” is appropriate, Courts

  “have insisted that the documents that have been produced permit a reasonable

  deduction that other documents may exist or did exist and have been destroyed.”

  Hubbard v. Potter, 247 F.R.D. 27, 29 (D.D.C. 2008); accord Tijerina v. Stanley, Civ.

  A. No. 5:16-cv-102, 2019 WL 1396964, at *4 (E.D. Tex. Mar. 28, 2019) (“[H]e asserts

  there were other medical records which would have supported all of his allegations;

  however, he offers nothing to suggest that any such records exist.”).

        b.     Protective Orders

        “The only pre-deposition protest allowed by the Federal Rules of Civil

  Procedure is a motion for a protective order.” Ferko v. Nat'l Ass'n for Stock Car Auto

  Racing, Inc., 218 F.R.D. 125, 144 (E.D. Tex. 2003) (citations omitted). Under Federal

  Rule of Civil Procedure 26(c), a “court may, for good cause, issue an order to protect

  a party or person from annoyance, embarrassment, oppression, or undue burden or

  expense.” Fed. R. Civ. P. 26(c)(1). The movant bears the burden of showing that a

  protective order is necessary, “which contemplates a particular and specific

  demonstration of fact as distinguished from stereotyped and conclusory statements.”

  Equal Emp. Opportunity Cmm'n v. BDO USA, L.L.P., 876 F.3d 690, 698 (5th Cir.

  2017) (internal quotation marks and citation omitted); Zavala v. Cooper Tire &

  Rubber Co., No. 4:22-CV-498, 2022 WL 17069113, at *1 (E.D. Tex. Nov. 17, 2022)


                                            3
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 4 of 15 PageID #: 19820

                                  FILED UNDER SEAL


  (citing Landry v. Air Line Pilots Ass'n, 901 F.2d 404, 435 (5th Cir. 1990)) (“Therefore,

  a Protective Order is warranted in those instances in which the party seeking it

  demonstrates good cause and a specific need for protection.”).

        “The Court has broad discretion in determining whether to grant a motion for

  Protective Order and what degree of protection is required because it is ‘in the best

  position to weigh fairly the competing needs and interests of parties affected by

  discovery.’” Zavala, 2022 WL 17069113, at *1 (quoting Seattle Times Co. v.

  Rhinehart, 467 U.S. 20, 36 (1984)).

        Protective orders barring depositions are rarely granted, “and absent

  extraordinary circumstances, such an order would likely be in error.” Salter v. Upjohn

  Co., 593 F.2d 649, 651 (5th Cir. 1979) (citations omitted) (noting that “[i]t is very

  unusual for a court to prohibit the taking of a deposition altogether”); see Bucher v.

  Richardson Hosp. Auth., 160 F.R.D. 88, 92 (N.D. Tex. 1994) (“Protective orders

  prohibiting depositions are rarely granted.”).

        ANALYSIS

        a.     Discovery-On-Discovery

        Google    argues   that   the   States      have   not     articulated    a   basis   for

  “discovery-on-discovery,”   noting    that       the   primary     focus   of   the    States’

  discovery-on-discovery has been the retention of Google Chats. (Dkt. #361 at 6–7).

  Google notes that the States were informed of Google’s Chat retention policies in

  January 2020, that Google did not have a duty to preserve Chats until September

  2019, and that the majority of the conduct at issue in this action occurred before




                                               4
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 5 of 15 PageID #: 19821

                                  FILED UNDER SEAL


  September 2019. (Id.). Google further notes that the States have had an opportunity

  to depose Google employees about Chats. (Id. at 7).

        The States argue that they are entitled to the requested discovery-on-discovery

  because the evidence supports a “reasonable deduction” that relevant Chats were

  destroyed. (Dkt. #374 at 7). In particular, the States point to the wide discrepancy

  between the number of Chats produced—13,588—with the number of emails

  produced—3.8 million—especially considering testimony from Google witnesses that

  they use Chats frequently and, in some cases, at least as often as emails. (Id. at 2–4).

  The States also rely on findings in In re Google Play Store Antitrust Lit. (N.D. Cal.)

  (“Play”) that Google destroyed Chats relevant to that case, which, in combination with

  the paltry number of Chats produced in this case, is sufficient to justify discovery into

  Chat retention. (Id. at 1–2).

        The Special Master finds that Google’s Chat retention policy and the record in

  this case justifies some limited discovery-on-discovery. Google witnesses have

  testified that they frequently use Chats to discuss business matters, and possibly as

  much as they use emails. (See, e.g., #374-4 at 247:21–22, 258:24–25 (

  testifying “I use Chat on a daily basis” and “on some days I have hundreds of chats”);

  #374-5 at 61:21 – 62:2 (                testifying that email, Chats, and in-person

  discussions are “interchangeable”)). Once the Texas Attorney General’s investigation

  of Google began in September 2019, Google had an obligation to preserve relevant

  information, and that would include Chats. Google instructed each employee to decide

  whether to put Chats “on-the-record” on a message-by-message basis. (See Dkt. #280-




                                             5
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 6 of 15 PageID #: 19822

                                  FILED UNDER SEAL


  3 at 4). And in contrast to Google’s Chat retention policy, Google preserved all emails

  instead of delegating preservation decisions to individual employees. (Apr. 18 Hrg.

  Tr. at 81). On its face, Google’s Chat retention policy appears to fall short of Google’s

  obligation to preserve all relevant electronically stored information. See Fed. R. Civ.

  P. 37(e) Advisory Committee’s Notes to 2015 Amendment (“Many court decisions hold

  that potential litigants have a duty to preserve relevant information when litigation

  is reasonably foreseeable.”); Peals v. QuikTrip Corp., Civ. A. No. 4:20-cv-22-KPJ, 2021

  WL 2043185, at *5 (E.D. Tex. May 21, 2021) (“A party has a duty to preserve evidence

  ‘when the party has notice that the evidence is relevant to the litigation or should

  have known that the evidence may be relevant.’”) (quoting Guzman v. Jones, 804 F.3d

  707, 713 (5th Cir. 2015)). Indeed, Google changed its Chat retention policy to preserve

  all Chats when issues arose as to the sufficiency of Google’s preservation of Chats.

  (See Apr. 18 Hrg. Tr. at 84) (Chat retention policy changed in the first quarter of

  2023).

           Further, the wide disparity in the volume of Chats produced in comparison to

  emails and other documents produced is concerning and justifies further inquiry. See

  U.S. v. Planned Parenthood Federation of America, 2:21-cv-022-Z, 2022 WL

  19021566, at *3 (N.D. Tex. Sept. 20, 2022) (ruling that relative disparity in document

  productions allowed “the Court to make ‘a reasonable deduction that other documents

  may exist’”) (internal citation omitted). The States argue that Google only produced

  13,588 Chats, out of the approximately 6 million total documents produced—meaning

  Chats only comprise approximately .23% of Google’s total document production and




                                             6
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 7 of 15 PageID #: 19823

                                 FILED UNDER SEAL


  .36% of Google’s email production. At the April 18 Hearing, Google argued that the

  States incorrectly tabulated the number of Chats produced, but even accepting and

  applying Google’s calculation, Chats remain a mere fraction of less than 1% of

  Google’s total document production in this case. (See Apr. 18 Hrg. Tr. at 78)

  (“SPECIAL MASTER: [I]s the 13,000 number right? [GOOGLE COUNSEL]: That’s

  broadly right yes.”).

        The Special Master notes the Play Court found that “Google fell strikingly

  short” as to preservation. See Play, 664 F. Supp. 3d 981, 992 (N.D. Cal. 2023). And,

  as Google acknowledges, the preservation policies in Play and this case were similar,

  if not identical. (See Apr. 18 Hrg. Tr. at 79) (“SPECIAL MASTER: Well, is there

  anything materially different about Google’s retention policy in [Play] as compared

  to here during the relevant period? [GOOGLE COUNSEL]: The retention policies

  would have been broadly similar if not the same.”). And the preservation obligation

  was triggered earlier in this action (September 2019) than in Play (2020).

        At the April 18 Hearing, Google advanced an argument that at least one State,

  South Carolina, had a similar retention policy in place. (Apr. 18 Hrg. Tr. at 76–77).

  Setting aside whether that’s a persuasive response to the sufficiency of Google’s

  policy, Google has sought and the States have permitted discovery-on-discovery as to

  the States’ document retention. (See Dkt. #374 at 10) (“Google has sought and has

  obtained, and is obtaining, similar discovery-on-discovery from the States.”). And the

  Special Master has allowed discovery-on-discovery on certain States, as Google




                                            7
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 8 of 15 PageID #: 19824

                                  FILED UNDER SEAL


  sought and obtained. (See, e.g., Dkt. #339 at 4) (ordering discovery into Puerto Rico’s

  document collection efforts).

        The Special Master also recognizes that Google’s Texas counsel promptly

  disclosed Google’s Chat retention policy to the State of Texas in January 2020, but

  the principal question here is less one of transparency than one of compliance with

  the independent preservation obligation. The Special Master also acknowledges

  Google’s contention that the States waited to raise this issue until a late stage of the

  case but notes the States’ response that Google did not identify or at least confirm

  which documents in its production actually were Chats until recently.

        Google’s retention policy on its face is inadequate and coupled with the other

  evidence in this case therefore permits a reasonable deduction that Chats were not

  preserved, which is sufficient to allow some limited discovery-on-discovery. See

  Hubbard, 247 F.R.D. at 29.2 The Special Master recommends that the Court DENY

  the Motion as to Rule 30(b)(6) testimony sought by the States in noticed topics 1 to

  the extent they relate to Google Chats, and 18. The Special Master does not view the

  remaining discovery-on-discovery Rule 30(b)(6) topics, including Topic Nos. 2,3, 4, 5,

  16, 17, and 19, as germane to Chat preservation or otherwise proportional. Therefore,

  the Special Master recommends that the Court GRANT the Motion as to those topics.

        The Special Master recommends that the Court GRANT the Motion as to the

  States’ written discovery, including its Interrogatory Nos. 29–34 and Request for



  2 The Special Master’s recommendation does not pass upon whether there was, in

  fact, any destruction or spoliation of Chats in this case—the Special Master merely
  finds that there is a sufficient basis to permit further discovery on the subject.


                                             8
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 9 of 15 PageID #: 19825

                                   FILED UNDER SEAL


  Production Nos. 119 and 121–135 for now, without prejudice to the States later

  seeking such written discovery if deposition testimony or other evidence warrants it.

         b.      Deposition of In-House Counsel

         Google argues that the States should not be permitted to take                     ’s

  deposition under the test established in Shelton v. American Motors Corp., 805 F.2d

  1323 (8th Cir. 1986) and adopted by the Fifth Circuit in Nguyen v. Excel Corp., 197

  F.3d 200, 209 (5th Cir. 1999). (Dkt. #361 at 9). Under Shelton, counsel may not be

  deposed unless (1) no other means exist to obtain the information sought, (2) the

  information sought is relevant and non-privileged, and (3) the information is crucial

  to the preparation of the case. (Id. at 9–10) (citing Nguyen, 197 F.3d at 208). As to

  the first factor, Google argues that the requested testimony was already given in Play,

  that the States have it, and thus this element is not met. (Id. at 10). As to the second

  factor, Google argues that the testimony sought regarding Google’s privilege

  assertions in this case is not relevant, because the privilege disputes in the Play case

  have no bearing on this case. (Id.). As to the third factor, because the States did not

  seek this testimony until years into the case, the States cannot credibly assert that

  the requested testimony is crucial to their preparation of the case. (Id. at 11). Finally,

  Google emphasizes that the privilege calls in this case are made by outside counsel.

  (Id. at 10).

          The States respond that Shelton does not apply here, as                is not trial

  counsel nor is she involved in trial strategy. (Dkt. #374 at 11). However, the States

  argue that her testimony would be proper even under the Shelton standard, as Google

  does not stipulate to the admissibility of            ’s Play testimony, and Google has


                                               9
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 10 of 15 PageID #: 19826

                                  FILED UNDER SEAL


  continued to revise its privilege logs at this late stage of this case. (Id. at 12). The

  States contend that the “fake privilege” at issue in the Play case may have also

  occurred in this case, pointing to the voluminous entries on Google’s privilege logs,

  many of which list              , and Google’s continued revisions and “throw backs”

  of documents previously listed on privilege logs. (Id. at 3, 9–10).

        The Special Master does not agree with the States that Shelton is inapplicable

  merely because                is in-house, not trial counsel. See Murphy v. Adelphia

  Recovery Trust, No. 2-09-MC-105-B, 2009 WL 4755368, at *3 (N.D. Tex. Nov. 3, 2009)

  (“[T]he critical factor in determining whether the Shelton test applies is not the status

  of the lawyer as ‘trial counsel,’ but the extent of the lawyer’s involvement in the

  pending litigation.”). As the States acknowledge,                      appears on 822

  documents produced by Google and “large numbers” of withheld documents,

  indicating her involvement in matters relevant to this litigation. (Dkt. #374 at 6).

  “Generally, federal courts have disfavored the practice of taking the deposition of a

  party's attorney; instead, the practice should be employed only in limited

  circumstances.” Theriot v. Par. of Jefferson, 185 F.3d 477, 491 (5th Cir. 1999).

                     previously testified in Play regarding privilege issues raised there.

  As to this case, the Special Master notes that Google has re-reviewed its privilege log

  entries, revised such entries, and de-designated numerous privilege designations,

  after and in response to the States’ own thorough evaluation of Google’s privilege logs




                                             10
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 11 of 15 PageID #: 19827

                                  FILED UNDER SEAL


  and identification of what they contended were deficient privilege assertions.3

  Further, as noted by Google at the April 18 Hearing, privilege evaluations in this case

  were made or supervised by Google’s outside counsel—not                  or anyone else

  in Google’s in-house legal department. (See Apr. 18 Hrg. Tr. at 92). Additionally,

          is not a document custodian in this case, nor did the States seek to include

              as a custodian. (Dkt. #361 at 9).

        As to alleged “fake privilege” in this case, the States urge that the Play practice

  “may be present in this case” but have not pointed to any actual nexus between the

  privilege issues from Play and this case such that             ’s deposition is justified.

  (Dkt. #374 at 2). At the April 18 Hearing, the States acknowledged that their stated

  need for such a deposition was to find out whether privilege issues from the Play case

  applied as to this case. (See Apr. 18 Hrg. Tr. at 110) (“We need testimony with respect

  to the practice that she testified about the Play case with respect to the relevant

  documents in this case and if those practices—the fake privilege practices can be

  [T]aken [W]ith [C]are,[4] how those relate to the relevant documents in this case.”).

  The States have not made a sufficient showing of relevant, nonprivileged information

  to be obtained by deposing                in this case. The Special Master therefore

  recommends that the Court GRANT the Motion as to                    ’s deposition.




  3 The States objected to roughly 300,000 of Google’s privilege log entries. (See Dkt.

  #235 at 2). After re-review, Google made approximately 170,000 revisions to its log
  entries and produced 38,489 documents. (Dkt. #374 at 3).
  4 “Communicate With Care” is a term used internally by Google for their written

  communication practices. See Play, 664 F. Supp. 3d at 983.


                                            11
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 12 of 15 PageID #: 19828

                                  FILED UNDER SEAL


          However, the Special Master remains concerned about the “fake privilege”

  issues found in Play and whether they may have affected this case. The Special

  Master notes that               testified in the Play trial, after which the Play Court

  found that fake privilege had occurred. See Play, Dkt. #849 at 162 (“Google’s

  witnesses have also – and I’m referring here namely to in-house attorney

           – have also testified or given disturbing testimony about the use of, quote,

  ‘fake privilege,’ close quote, claims with respect to internal Google documents and

  communications.”). Additionally, privilege assessments appear to have been made by

  outside counsel in the Play case, as they were here. (Apr. 18 Hrg. Tr. at 92–93)

  (Google’s counsel acknowledging privilege calls were made by outside counsel in

  Play). The States note               still appears on “large numbers” of privilege log

  entries as to withheld documents (though the precise number is not quantified), and

  appears on 822 previously withheld documents that were produced to the States after

  re-review. The Special Master further notes that Google, when conducting its

  privilege re-reviews in this case, did not afford special attention to documents in

  which             ’s name appears, which took place after the findings in Play. (Id. at

  96–97). This all gives the Special Master concern, given the seriousness of the issue

  and the rulings in Play.

          The Special Master therefore recommends that Google be ORDERED to

  promptly complete a further review of all documents that continue to be withheld as

  privileged and on which              ’s name appears. The review shall be undertaken

  by Google’s counsel of record in this case. Google’s counsel of record in this case shall




                                             12
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 13 of 15 PageID #: 19829

                                  FILED UNDER SEAL


  (i) report their findings to the Special Master, (ii) advise in the report as to the

  presence of “fake privilege,” if any, as to the withheld documents and (iii) if needed,

  revise Google’s privilege logs and produce previously withheld documents, if any.

        The Special Master’s recommendation is to take action to provide grounds to

  reasonably conclude that no documents in this case are being withheld on privilege

  without a good faith basis, unaffected by the troubling issues in Play. The Special

  Master is confident that such review by counsel of record here as officers of the Court

  will provide such grounds.

        CONCLUSION

        For the reasons stated herein, the Special Master recommends that the Court

  GRANT-IN-PART and DENY-IN-PART the Motion. The Special Master recommends

  that the Court: (i) GRANT the Motion as to               ’s deposition, (ii) GRANT the

  Motion as to the States’ written discovery seeking discovery-on-discovery without

  prejudice to the States later seeking such discovery if justified, (iii) DENY the Motion

  as to Rule 30(b)(6) testimony on Topics 1 and 18 with respect to Google Chats; and

  (iv) GRANT the Motion as to Rule 30(b)(6) testimony on Topics 2,3, 4, 5, 16, 17, and

  19. The Special Master further recommends that Google—through its counsel of

  record in this case—be ORDERED to conduct a re-review of those privileged

  documents identified on its privilege log that mention or refer to                  and

  confirm that such documents, upon counsel of record’s review, are not tainted by the

  alleged “fake privilege.”


        Signed this 26th day of April, 2024.



                                            13
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 14 of 15 PageID #: 19830

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                                        _              __________
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                                       14
Case 4:20-cv-00957-SDJ Document 579-2 Filed 07/23/24 Page 15 of 15 PageID #: 19831

                                 FILED UNDER SEAL


                               CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing Order of Special Master was filed

  electronically in compliance with Local Rule CV-5(a) on this 26th day of April, 2024

  and was served on all counsel who are deemed to have consented to electronic service

  by electronic mail.



                                                           _________
                                            David T. Moran

            CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL
        Pursuant to the Court’s Order Appointing Special Master (Dkt. No. 213), I

  certify that the Court has already granted authorization to seal this document.

        Date: April 26, 2024


                                                           ___
                                            David T. Moran




                                           15
